
PER CURIAM.
We affirm without prejudice to any right Mr. Bullock may have to file a petition alleging ineffective assistance of appellate counsel pursuant to Florida Rule of Appellate Procedure 9.141 as related to Martin v. State, 43 Fla. L. Weekly D1016, --- So.3d ----, 2018 WL 2074171 (Fla. 2d DCA May 4, 2018), the review of which has been stayed in SC18-789 pending the resolution of the conflict decision in Love v. State, 247 So.3d 609 (Fla. 3d DCA 2018), review granted, SC18-747, 2018 WL 3147946 (Fla. June 26, 2018).
Affirmed.
LaROSE, C.J., and BLACK and SALARIO, JJ., Concur.
